UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS

 

EASTERN DIVISION
OZGUR IL. OZKAN, M.D., )
)
Plaintiff, )
04°
v. )
)
LOYOLA UNIVERSITY MEDICAL )
CENTER, a/k/a LOYOLA UNIVERSITY )
HEALTH CENTER, CHARLES ) “4 f Wtf
BOUCHARD, M.D., AMJAD AHMAD, M.D.,__) JUDGE SHADUR
)
Defendants. ) MAGISTRATE JUDRE DERLOW
NOTICE OF FILING
TO: Elisabeth Schoenberger
770 North Halsted Street
Suite 205

Chicago, IL 60622

PLEASE TAKE NOTICE that on Wednesday, July 28, 2004, Defendants Loyola
University Medical Center, Charles Bouchard, M.D. and Amjad Ahmad, M.D. filed an
Appearance and Notice of Removal in the United States District Court for the Northern District
of Illinois, Eastern Division, a copy of which is attached hereto and served upon you.

a Wana Wie Wet ob
V One ofthe Attorneys for Defendants,

Loyola University Medical Center,
Charles Bouchard, M.D. and

 

Amjad Ahmad, M.D.
Brent J. Graber Laem
Brian W. Bulger B Of RE ra
Jennifer M. McMahon JUL 9 -
MECKLER BULGER & TILSON LLP 9 2004

123 North Wacker Drive, Suite 1800
Chicago, IL 60606
312/474-7900

312/474-7898 (Fax)
N:A21 22\pleading\nof-fed.doc

4
o 2
ron = tm
YP 2
a
UNITED STATES DISTRICT COURT ae ook,
NORTHERN DISTRICT OF ILLINOIS Bu BZ 2
EASTERN DIVISION Oe ON
a - &
OZGUR IL. OZKAN, M.D., ) Bt
)
Plaintiff, ) ~
oF 4965
v. )
)
LOYOLA UNIVERSITY MEDICAL ) -
CENTER, a/k/a LOYOLA UNIVERSITY ) JUDGE SHADUR
HEALTH CENTER, CHARLES )
BOUCHARD, M.D., AMJAD AHMAD, M.D., —} MAGISTRATE forme ap
iHATE JUOGE DENLOW
Defendants. )
NOTICE OF REMOVAL

 

Defendants, Loyola University Medical Center (“Loyola”), Charles Bouchard, M.D. and
Amjad Ahmad, M.D., by their attorneys, hereby provide Notice of Removal pursuant to 28
U.S.C. §§ 1441 and 1446 ofa civil action from the Circuit Court of Cook County, Civil Division,
to the United States District Court for the Northern District of Illinois, Eastern Division, on the
basis that this Court has diversity jurisdiction and subject-matter jurisdiction over the matter
pursuant to 28 U.S.C. §§ 1331, 1332, and 1441(a), (b). The grounds in support of this Notice of
Removal are as follows:

1. On June 9, 2004, Plaintiff, Ozgur I. Ozkan, filed his Complaint, Case No.
04L006539, entitled Ozgur I. Ozkan, M.D. v. Loyola University Medical Center aka Loyola
University Health Center, Charles Bouchard, M.D., Amjad Ahmad, M.D., in the Circuit Court of
Cook County. Copies of Plaintiffs Summons and Complaint are attached hereto as Exhibit 1.

2. This matter is properly removable because it arises under this Court’s diversity
jurisdiction: (a) upon information and belief, Plaintiff is currently a citizen of the Commonwealth

of Virginia; (b) Defendant Loyola is domiciled in the State of Illinois with its primary place of

 
business in Maywood, [llinois; (c) Defendant Dr. Bouchard is domiciled in the State of Illinois;
(d) Defendant Dr. Ahmad is domiciled in the State of Illinois; (e) the amount in controversy
exceeds the sum or value of $75,000 exclusive of interest and costs, as Plaintiff's Complaint
states that the damages he seeks are “in excess of $100,000”; and (e) venue is proper in this
judicial district pursuant to 28 U.S.C. § 1391.

3, This matter is also properly removable because it arises under this Court’s
subject-matter jurisdiction: (a) Plaintiff has alleged breach of an employment contract based on a
Graduate Medical Education Agreement (“GME”) attached as Exhibit A to his Complaint; (b)
Plaintiff alleges in paragraph 4 of the Complaint that “the relationship between the parties, as
defined by the contract, also incorporated the Housestaff Handbook” (See Housestaff Handbook,
relevant excerpts of which are attached hereto as Exhibit 2); (c) the 2002-2003 Benefits
Addendum of the GME states that an employee is entitled to [Family and Medical Leave Act]
leave “in accordance with the FMLA rules and regulations ...5” (d) that provision refers to the
Housestaff Handbook for further information regarding leaves of absence; (e) the Housestaff
Handbook, Section IV.B, Leave Policies, states the following as to the Family & Medical Leave
Act:

It is the policy of the Loyola University Medical Center to grant employees

family leave in accordance with the Family and Medical Leave Act (“FMLA”) of

1993. The intent is to provide employees up to twelve (12) weeks of job

protected leave during any twelve- (12) month period. To be eligible for leave, a

house officer must have been employed by the Loyola Medical Center for at least

twelve months. A house officer may request FMLA leave to care for a spouse,

child, or parent who has a serious health condition; the birth, adoption, or foster

care placement of a child; or his/her own serious health condition.

Typically, a FMLA leave is unpaid; however, residents may elect to use any

available paid time off (vacation, sick, or educational days) concurrently with the

FMLA leave. In the event a housestaff officer elects to use available paid time

off, once the available paid time off has been exhausted, the FMLA leave will be
unpaid.
A request for FMLA leave must be made in writing between the house officer

prior to the beginning of leave. The housestaff officer should provide the

program director, the Department of Human Resources, and the Graduate Medical

Education Office with a copy of the request. Where applicable, the housestaff

office must also complete appropriate forms with the Department of Human

Resources to continue medical, dental, life insurance and long-term disability

coverage during the FMLA leave. The resident will be billed for the amount of

any payroll deductions to continue insurance coverage. Vacation time will not be

eared during the unpaid portion of the leave of absence. If the FMLA leave

exceeds the allowable absence by specific board requirements or causes the
housestaff officer to miss a key rotation, the housestaff officer must extend his/her
training to complete the requirements and/or rotation.

4. In short, the policy to which Plaintiff refers in his Complaint is simply Loyola’s
explication of its FMLA-compliance policy and is not a separate contractual provision. The
entire FMLA provision in the contract mirrors what Loyola is already required to provide
pursuant to federal law, and therefore offers no extra or additional contractual benefit to Plaintiff.
The allegations in the Complaint that Plaintiff was denied leave under this policy are, in
actuality, an allegation that he was denied leave pursuant to the Family and Medical Leave Act.
A cause of action under FMLA establishes federal subject-matter jurisdiction.

5. This Notice of Removal is timely under 28 U.S.C. § 1446(b) because it is being
filed within 30 days of the Defendants’ receipt of the Complaint. Loyola and Dr. Bouchard were
served with the Summons and Complaint on June 28, 2004, and Dr. Ahmad was served on June
30, 2004.

6. Defendants will file a copy of this Notice of Removal with the Clerk of the Court
for the Circuit Court of Cook County, Illinois.

WHEREFORE, Defendants pray that the above action now pending against them in the

Circuit Court of Cook County, Civil Division, be removed to this Court.

 
Brent J. Graber

Brian W. Bulger

Jennifer M. McMahon
Meckler Bulger & Tilson LLP
123 North Wacker Drive
Suite 1800

Chicago, IL 60606

(312) 474-7900

(312) 474-7898 (Fax)

N:A2122\pleading\removal.doc

Respectfully submitted,

By:

Qanfrr Me Malar

 

One of the Attorneys for Defendants,
Loyola University Medical Center,
Charles Bouchard, M.D. and

Amjad Ahmad, M.D.

 
CERTIFICATE OF SERVICE
I, Jennifer M. McMahon, an attorney, state under oath that I caused a copy of the
foregoing Appearance and Notice of Removal to be served upon the following attorney,
via messenger delivery this 28th day of July, 2004.
Elisabeth Schoenberger
770 North Halsted Street

Suite 205
Chicago, IL 60622

Saws MC Wali —

{dnnifer M. McMahon
NA2122\pleading\cos-jmm.doc

 
Exhibit 1
 

 

 

 

 

 

 

 

06/30/2004 09:54 FAX 708 :
‘ 2168059 GENERAL COUNSEL con 003
2 - ed . 2121 - Served
370 - Rut Served 2721 - Not Served .
2320 - Served By Mail © 28 - Serves By et 4
- icati 2421 - Serv ublication : .
SUMMONS By Publican ALIAS - SUMMONS (Rev.12/3/01) CCG q001 =
IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
COUNTY DEPARTMENT, LAW DIVISION
i No.
(Name all parties) SCOURS
Ozgut Ozkan Pleo Se amr BLEHONR T
Ler ako aeaicllb G
Loyola University Medical Center aka Loyola University LIGO 3, Fics Aare

Health System, Charles Bouchard, MD, Amjad Ahmad, MD. Mow) weed. ti Go/S 53

SUMMONS

- To each defendant:

YOU ARE SUMMONED and required to file an answer to the complaint in this case, a copy of which is
hereto attached, or otherwise file your appearance, and pay the required fee, in the office of the Clerk of this Court at

the following location:
@ Richard J. Daley Center, 50 W. Washington, Room 801 , Chicago, illinois 60602

al District 2 - Skokie O District 3 - Rolling Meadows 1 District 4- Maywood
5600 Old Orchard Rd. 2121 Euclid 1500 Maybrook Ave.
Skokie, IL 60077 ' Rolling Meadows, IL 60008 — Maywood, IL 60153
District 5 - Bridgeview OF District 6 - Markham
10220 S. 76th Ave. 16501 8S. Kedzie Pkwy.
Bridgeview, IL. 60455 Markham, IL 60426

You must file within 30 days after service of this summons, not counting the day of service.
IF YOU FAIL TO DO SO, A JUDGMENT BY DEFAULT MAY BE ENTERED AGAINST YOU FOR THE RELIEF
REQUESTED IN THE COMPLAINT.

To the officer:

This summons must be returned by the officer or other person to whom it was given for service, with
endorsement of service and fees, if any, immediately after service. If service cannot be made, this summons shall
be returned so endorsed, This summons may not be served later than 30 days after its date.

tty. Nox 36975 WIINEss, SUN 09 2004

Name: Elisabeth Shoenberger

Atty. for: Plaintiff DOROTHY M at i
Clerk HClaT COURT

Address: 770 N. Halsted Street, Suite 205

 

 

 

 

 

 

 

City/State/Zip: Chicago, Minois 60622 Date of service: : ae = .

i ed i
Telephone: 312-733-1601 | (To be userted by officer on c SEAL)
Service by Facsimile Transmission will be accepted at:

(AreaCode) (Facsimile Telephon&tyunber) Lo
: DGROTHY BROWN, CLERK OF THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS

 
 

 

06/30/2004 09:55 FAX 70821680
“oo DPQ GENERAL COUNSEL ~~ @ioos
2
m co
: BOF
IN THE CIRCUIT COURT OF COOK COUNTY, TLLINOIS. cm 2 = :
COUNTY DEPARTMENT, C DIVISION » § > © = “Py
, ; Ben wy me
mee ro
Ozgur I. Ozkan, MD. ) a Sons a itr
Plaintiff, } N SAS = "3
) o. Se =
Vv. ) SOU
) =~
)
Loyola University Medical Center aka ) oa OS
Loyola University Health Center, ) CALENDAR T
Charles Bouchard, M.D., ) BREATH SE PORTRAET
Amjad Ahmad, M.D. )
Defendant. }
) Bownaagec'vn Leeann of 400,000 3

COMPLAINT

Plaintiff Ozgur Ozkan (“Plaintiff’} claims as follows:

DICTY

1. This court has subject matter jurisdiction of this action because:
a. Defendant Loyola University Medical Center is a corporation organized and existing
under the laws of the State of Illinois with its headquarters and main place of business in
THlinois;
b. Plaintiff primarily performed services under contract in the State of Illinois.
c, Defendant Charles Bouchard (“Defendant Bouchard”) is a resident of the State of

Tilinois.
d. Defendant Amjad Ahmad (“Defendant Ahmad”) is a resident of the State of Illinois.

Tr L FOR REL

2. On July 1, 2002, Plaintiff and Defendant entered into a contract for employment for valuable

consideration, A true and correct copy of this contract is attached to this complaint and

incorporated by reference in it as Exhibit "A."
06/30/2004 09:55 FAX 7082168059 GENERAL COUNSEL . ih o05

 
06/30/2004 09:56 FAX 7082168059
. +

i

GENERAL COUNSEL
< iI oN (joos

3. This contract set forth the relationship between the Plaintiff and Defendant Loyola University
Medical Center. The basis of the contract is that in exchange for working for the University as a
Resident, Plaintiff would receive training in the field of Ophthalmology as well as receive a
stipend and benefits. These benefits included, but were not limited to, Sick Leave and FMLA
Leave/ General Leave.

4. The relationship between the parties, as defined by the contract, also incorporated the
Wousestaff Handbook which set the procedures to be used with respect to disciplinary
proceedings such as warnings, suspensions, and terminations.

5, Plaintiff began work for Defendant Loyola University Medical Center prior to the start of the
contract. His first action on behalf of Loyola occurred on or about June 15, 2002.

6. Two of Plaintiffs supervisors were Defendant Bouchard and Defendant Ahmad.

7. Defendant Ahmad engaged in deliberately egregious conduct aimed at demoralizing and
humiliating the Plaintiff, This conduct included, but was not limited to, deliberately refusing to
train the Plaintiff, malicious comments made regarding the Plaintiff in the Plaintiff's and other
persons’ presence; falsely accusing the Plaintiff of improper treatment of patients; and ridiculing
the Plaintiff in the presence of other residents and supervisors and staff.

8. The result of Defendant Ahmad’s conduct was to cause the Plaintiff to suffer a severe
depression and also to exacerbate his medical condition of an Arnold-Chiari Malformation.

9. Plaintiff repeatedly spoke to Defendant Loyola University Medical Center Staff, especially the
head supervisor Dr. Charles Bouchard, with respect to the egregious conduct of Defendant
Ahmad, but the conduct continued.

10. In October 2002, Defendant Loyola University Medical Center at the instigation of

Defendant Bouchard filed a disciplinary action against the Plaintiff in the form of a warning.

 
06/30/2004 09:56 FAX 7082168059

ot

_ GENERAL COUNSEL oN jo07

11. Plaintiff sought to appeal that decision and won his appeal on or about December 26, 2002.
12. According to Defendant Loyola University Medical Center’s policies and procedures, as set
forth in the Housestaff Handbook and thus incorporated into the parties’ contract, that incident
should have been expunged from Plaintiff's record and not pursued in further actions against
him.

13. Prior to the appeal, during a conversation between Plaintiff and Defendant Bouchard,
Defendant Bouchard stated that not only would the ophthalmology department continue to
consider the warning justified, but in fact the department was upset by Plaintiff's use of the
Defendant Loyola University Medical Center’s appeals procedure and would retaliate against
him for pursuing his appeal.

14. On or about March 11, 2003, Plaintiff was suspended for one week pursuant to allegations
made against him by Defendant Ahmad. These allegations were false and were made with the
intent to further harass and harm the Plaintiff.

15. Plaintiff appealed the decision of the March 11, 2003 suspension.

16. During the appeal hearing regarding the suspension, Kenneth Micetich, M.D., chairperson of
the appeals committee, brought up the incidents which were the basis of the warning. This
clearly violated the policies and procedures of Defendant Loyola University Medical Center
contained in the Housestaff Handbook and referenced and incorporated in the contract between |
Defendant Loyola University Medical Center and the Plaintiff.

17. As a result of breaching the contract, and the improper actions of Defendant Bouchard and
Defendant Ahmad, Plaintiff’ s appeal was denied on or about June 5, 2003.

18. On June 10, 2003, Defendant Bouchard wrote a letter to Plaintiff terminating his employment

with Defendant Loyola University Medical Center.
 

06/30/2004 09:57 FAX 7082168059 GENERAL COUNSEL

rN Moos

19. That letter contained intentional falsehoods relating to the Plaintiff which seriously damaged
his reputation and caused him to lose his position with Defendant Loyola University Medical
Center. These falsehoods include, but are not limited to, unfounded and exaggerated charges, lies
about Plaintiff's attempt to reach Defendant Bouchard, and lies about statements allegedly made
by Plaintiff.

20. Plaintiff appealed the termination.

21. Defendant Loyola University Medical Center again violated the policies and procedures
contained in the Housestaff Handbook, when Steven DeJong, M.D., chairpérson of the appeals
committee dealing with the termination, introduced into evidence Defendant’s personnel file
which again incorporated incidents from the warning with respect to the procedure to be
followed with respect to appealing the termination. Again this conduct was a clear breach of
Defendant Loyola University Medical Center’s and Plaintiffs contract.

22, Defendant Loyola University Medical Center breached its contract with the Plaintiff by firing
the Plaintiff while he was out on sick leave as a result of a serous medical condition, thereby
violating the Family Medical Leave Act provision provided to the Plaintiff as a benefit provided
in the contract. Defendant Loyola University Medical Center knew that Plaintiffs had a serious
illness as a result of him taking sick leave for urgent hospitalizations during December 2002 and
April 2003.

23, Defendant Loyola University Medical Center breached its contract with the Plaintiff by
failing to educate the Plaintiff in accordance with the Housestaff Manual. This is evidenced by
Defendant Ahmad’s complete unwillingness to work with the Plaintiff or train the Plaintiff. This

refusal occurred during frequent occasions from October 2002 through April 2003.
06/30/2004 09:57 FAX 7082168059 GENERAL COUNSEL

oa (qjoog

24. Defendant Bouchard through his defamatory statements, intentionat harassment of the
Plaintiff, and deliberate manufacturing of Plaintiff's termination caused the Plaintiffto suffer
severe emotional distress.

CLAIMI
25. Plaintiff repeats and re-alleges each and every allegation contained in paragraphs in 1-24 of
this Complaint with the same force and effect as if set forth herein.
26. Defendant Loyola University Medical Center breached the contract in that it has failed and
neglected to perform the contract insofar as it has failed or refused to educate the Plaintiff in
accordance to the agreement; terminated the Plaintiff in violation of the agreement, retaliated
against the Plaintiff in violation of the agreement, failed to properly discipline the Plaintiff in
violation of the agreement; and failed to provide leave under the Family Medical Leave Act in
violation of the agreement.
27. Plaintiff has demanded that Defendant Loyola University Medical Center fulfill its
obligations on the contract, but the Defendant Loyola University Medical Center has failed and
refused and continues to fail and refuse to do so.
28. By reason of the Defendant Loyola University Medical Center’s breach of contract, the
Plaintiff has been substantially damaged. This damage includes, but is not limited to, loss of pay,
loss of future income, loss of reputation, and the accrual of attorney fees and costs to pursue this
action.

CLAIM
29, Plaintiff repeats and re-alleges each and every allegation contained in paragraphs in 1-24 of .
this Complaint with the same force and effect as if set forth herein.

30. Defendant Ahmad has intentionally inflicted emotional distress upon the Plaintiff. ~

 
06/30/2004 09:57 FAK 7082168059 GENERAL COUNSEL

a
mo [7010

31. Plaintiff seeks all remedies possible for this conduct.

CLAIM Til
32. Plaintiff repeats and re-alleges each and every allegation contained in paragraphs in 1-24 of
this Complaint with the same force and effect as if set forth herein.
33. Defendant Bouchard has intentionally inflicted emotional distress upon the Plaintiff.
34. Plaintiff seeks all remedies possible for this conduct.

CLAIM IV
35. Plaintiff repeats and te-alleges each and every allegation contained in paragraphs in 1-24 of
this Complaint with the same force and effect as if set forth herein.
36, Defendant Bouchard should be held liable under an action of defamation based on the June
10, 2003 termination letter.
37. Plaintiff seeks all remedies possible for this conduct.

| PRAYER FOR RELIEF

Plaintiff demands judgment against Defendants:
1. To be made whole for all financial losses resulting from the breach of the contract on June 10,
2003, including but not limited to lost wages, loss of prospective wages, and loss of opportunity,
2. Pre-judgment interest on that sum from June 10, 2003, as allowed by law,
3. Declaratory relief including but not limited to ordering Defendant Loyola University Medical
Center to provide the Plaintiff with credit for his residential year, enjoining the Defendants from
future defamatory statements, and expunging his record of any adverse employment actions,
4, Punitive and compensatory damages,
5. A reasonable attorney’ s fee, and

6. The costs of this action.
06/30/2004 09:58 FAX 7082168059

GENERAL COUNSEL

oN (011

1, Ozgur Ozkan, certify thatit am the Plaintiff in the above entitled action, The allegations in this

complaint are true.

  

 

 

 

Dated: ALO?
Attorney for Plaintiff <7 :

Elisabeth Shoenberger

Law Offices of Elisabeth Shoenberger
770 N. Halsted. Street, Suite 205
Chicago, Illinois 60622 |
312-733-1601 x 420

Attny no. 36975

  
  

 

 

Upon penalties as provided YT] 10 735 ILCS 5/1-109

The abovesigned certifies tha) the statement set forth hercin are
tne and correct.

 
06/30/2004 09:58 FAX 7082168059 GENERAL COUNSEL Lf. ; o12

“?

wee

Agreement commences on the date House Officer obtains

L

GKADUATE MEDICAL EDUCATION AGREEMENT _

lds Agrezment is between LOYOLA UNIVERSITY MEDICAL CENTER and/or LOYOLA UNIVERSITY HEALTH SYSTEM, an /
Linois not-for-profit corporation, (Loyola) and Ozkan, Ozgur Ismail ; .:
, ) Tenn of Agreement:

Hiinois Medical Licensure, and if applicable,

appropriate visa, but no earlier than: | 07/01/02 - Residency Program: Ophthal
Agreement terminates one year from the date of - se

commencement of this Agreement, but ne earlier than: ~ «06/30/03 # Position: PGY-3
Stipend for the Term: $39,983.00

* . unless terminated sooner pursuant to established policies and procedures .
—_ PREAMBLE

This Agreement is entered into for the purpose of defining the relationship between Loyola and the House Officer during the House
Officer’s participation in Loyola’s graduate medical education and clinical training program and supersedes ail prior agreements for the
same purpose covering portions of or all of the same period of time covered by this Agreement, ; ;

STIPEND AND BENEFITS

Loyola shall provide the following stipend and benefits:

1,

The House Officer shall:

1,

Loyola shall pay the stipend set forth above during the term of this Agreement. Payment obligations herein do not arise until such
time as the house officer obtains or regains (in the event of loss) appropriate state licensure and work authorization papers.

Loyola shall pay to the House Officer those benefits listed on the Benefits Addendum 2002-03 edition which is attached hereto as
Exhibit A, and made a part hereof. . ;

Loyola shall provide defense and indemnity against claims of liability and legal actions asserted or brought against the House
Officer for professional negligence within the scope of the activities assigned to the House Officer under this Agreement. The
House Officer agrees to provide, and it is a condition of defense and indemmification that the House Officer provide, prompt notice
of any claim or suit and cooperation in the investigation and defense of any such claim or suit. Loyola reserves the right to select ”
defense counsel and to investigate, settle or otherwise dispose of the matter as it sees fit. ‘This Agreement to defend and indemnify
does not extend to acts beyond the scope of activities assigned tinder this Agreement or to intentionally tortious or criminal acts.

HOUSE OFFICER RESPONSIBILITIES
Obtain and maintain, at own expense, medical licensure in the State of Illinois. Should House Officer fai! to become licensed to
practice medicine: in the State of Iinois by Septeniber 1, 2002, and when applicable, fail to obtain the appropriate authorization

forms, visas, and other permits as may be required by the United States Immigration and Naturalization Service, by September 1,
2002, this contract will become null and void. .

Immediately notify the Office of Graduate Medical Education of any notice of license revocation, suspension or restriction. If at

any time within the term of this Agreement the House Officer ceases to be properly licensed, the Agreement is terminated.

: Participate in safe, effective and compassionate patient care under supervision, commenswrate with his or her level of advancement ©

and responsibility, To participate in hospital, community or research activities as required and assigned by the Program Director,
Failure to participate as described may be grounds for immediate termination. , :

Complete and sign, within ten (10) days of cach assignment, all medical charts of Medical Center patients. Loyola may suspend
the House Officer for failure to complete and sign medical charts, by providing the House Officer written notice of the suspension.
Such suspension shali be immediately effective until all outstanding medical charts are completed and signed. Upon such
suspension, if the House Officer has available, accrued vacation days, the House Officer shall be paid his or her stipend, for each
day of such suspension, and such days shall be charged to the House Officer's vacation bank. Thereafter, if the House Officer still

has not completed and signed all outstanding medical charts during such suspension, the House Officer shall be suspended without
pay, and may be dismissed from the Program without credit. .

Apply cost containment measures in the provision of patient care.

Outside professional activities not otherwise assigned must be approved in advance by the Program Director. Failure to obiain
advance approval for outside activities may be grounds for immediate termination.

OZKAN 0320

Fowta W2E0084 nev, 3/93; 2402

 
: 013
06/30/2004 09:59 Fak 7082168059 GENERAL COUNSEL / mo

2002-2003 BENEFITS ADDENDUM TO:
LOYOLA UNIVERSITY MEDICAL CENTER .
GRADUATE MEDICAL EDUCATION AGREEMENT <

Individual coverage in Preferred Provider Organizations (PPO) or Health Maintenance Organizations
(HMO) is effective on the first day of the term of this agreement, is provided with the hospital paying 100%

‘of the premiums. Insurance is available for dependents upon request and the premiums are to be paid by the

House Officer. A booklet is available describing the specific benefits offered.

Individual dental coverage as defined in the policy, to be effective on the first day of the term of this
agreement, Is provided with the hospital paying 100% of the premiums. individual may choose to participate -
in a traditional dental plan or a Dental Mamtenance Organization (DMO). Dental coverage is available for
dependents upon request and the premiums are to be paid by the House Officer.

Long-term disability insurance and life insurance as defined in the policy is provided with the hospital
paying 100% of the premiums.

‘Workmen’s compensation coverage under the laws of Illinois for protection against accidents or ilnesses
described in said laws,

Sick Leave - twelve (12) days with stipend, not accruable beyond the terms of this agreement. Program

' Director shall approve paid leave time, and may require a physician’s certification of sickness or disability.

Vacation - three weeks (21 calendar days) with stipend, to be scheduled by mutual agreement with
Department Chair. Personal leave is to be interpreted as fifteen (15) working days of paid vacation.
Vacation time is not cumulative from year-to year. Terminal vacation, payment in advance or payment for
unused time will not be permitted.

Family Medical (FMLA) Leave/General Leave - In accordance with the FMLA rules and regulations, a
House Officer absent from work for their own illness, family illness or matemity/patemity reasons is eligible
for up to twelve (12) weeks of unpaid Jeave unless circumstances allow accrued leave to be used. For further
information regarding Leave of Absence, please consult Housestaff handbook, a copy of which will be
provided to the House Officer. Ifa House Officer is absent from work for any personal reasons any accrued
leave may be used to compensate the House Officer.

Funeral Leave .
Funeral leave is granted at the discretion of the program director. The amount of time off is based on the
housestaff member’s relationship to the deceased and will range from one to three days.

Special Educational Leave - as part of the training program, each department is encouraged to allow seven
(7) days of leave for educational purposes relevant to the training program. The guidelines for providing
such leave and reimbursement for expenses are left to the discretion of each Department Chair.

Armed Services Reserve Duty Leave - two weeks, without stipend, in addition to other approved leave.

Customary hospital lodging, meals and laundry while on call at no cost to the House Officer.

EXHIBIT A OZKAN 0321 Page | of 2
QADOCUMENT Benclits Add BNFTADDO2.doc

 
06/30/2004 10;00 FAX 7082168059 GENERAL COUNSEL of iyo14

.*

BENEFITS ADDENDUM °
2002-2003

. |
L. Physical examination with appropriate laboratory evaluations at no cost to the House Officeis required, and
is to be taken at the onset of service hereunder. Vaccinations will be provided on a voluntary basis or
according to Departmental policy. |

M. Customary reimbursement for meals and/or spcks while on call through a meal receipt system or other
approved method.

N. Education Assistance Benefit: |
.

1. Employees are eligible for tuition benefits immediately upon hire, in the following programs:
University College, evening and er sessions, Dental Hygiene (undergraduate), Institute of |
Pastoral Studies, Graduate School, School of Education and limited openings in the Graduate School |
of Business. Classes may be taken after business hours and on Saturdays. To enroll in summer
sessions you must be employed by Apmil 1,

2. Spouses and dependents of employees are eligible for tuition remission in all undergraduate
programs immediately upon the employee’s hire with the University.

3. Loyola University Medical Center is required to report the amount of tuition credited on behalf of
employees and their dependents as taxable earnings to the employee in accordance with Intemal
Revenue Service (IRS) requirements and tax regulations. -

O. Employee Assistance Program

The Employee Assistance Program (EAP) is a confidential, voluntary service designed to assist faculty, staff,

and administrators with personal or work-related problems. Some of the problems the EAP handles include

marital concems, family conflict, alcohol/drug abuse, emotional difficulties, and job stress. The service

provides free assessment and short term counseling when appropriate. In addition, every effort is made to

locate local referral resources that will provide affordable services for those being referred.

P. Effect of Leave for Satisfying Completion of Program
Each resident will be allowed leave for sickness/disability/vacation per contractual year leave in accordance
with Sections E through G. If a personal leave compromises a housestaff member’s ability to satisfy
specialty board training requirements, the housestaff member may be required to extend the training period.
The Program Director will review the specific board requirements needed to complete the Program;
supplemental time will be determined if necessary and added to the current academic year.

Q. Duty Hours .
Each residency program shall set resident duty hours in accordance with guidelines of the Accreditation
Council for Graduate Medical Education and by policies set by the Residency Review Committee Program
Requirements.

For additional policies conceming tuition assistance, please refer to the Educational Assistance Benefit Addendum.

TBI A Page 2 of 2

QADOCUMENT Benefits Add\BNFTADDO2.doc OZKAN 6322

 
Exhibit 2
‘CLORIAM

  

LOYOLA UNIVERSITY MEDICAL CENTER
HOUSESTAFF HANDBOOK

POLICIES AND PROCEDURES
FOR RESIDENTS

LOYOLA
G = UNIVERSITY LOYOLA UNIVERSITY MEDICAL CENTER
- a ; 2160 South First Avenue
5 8 HEALTH SYSTEM Maywood, IL 60153
@, &

. - . Telephone: (708) 216-9000
MD Loyola University Chicago Edition 2002/03
TABLE OF CONTENTS

1. Introduction
A. Mission Statement
B. Institutional Commitment to Graduate Medical Education
GC. Commitments to Residents

ll. General Information
A. Directory/Crganization of Graduate Medical Education Office
B. Contracts /Terms and Conditions
C. Resident Eligibility and Resident Selection
D. Resident Requirements
E. Duty/On-Call Hours
F. Residency Description
G. Housestaff Governance Committee
H. Medical Records Documentation
I. Moonlighting and Resident Empfoyment Outside the Residency Program
J. Professional Liability
K. Resident Responsibilities
L. Resident Supervision
M. Risk Management Information
N. Resident Eligibility and VISA Sponsorship
Q. Office of the Ombudsperson

ili. Poticies and Procedures
A. Policy and Procedure Manuals
B. Residents Records
C. Appeals/Grievance Procedures
D. Chief Residents
E. Program Downsizing
F. Delinquent Medical Records
G. Evaluations and Promotions
H. Licensing and Resident Eligibility
|. Off- Site Electives
J. Physician Impairment and Substance Abuse
K. Policy for Academic Probation
L. Policy for Corrective Action
M. Harassment in the Workplace
N. Termination/Completion of Residency Program
O. Resolution of Resident Issues

IV. Benefits
A. Guide to Benefits
B. Leave Policies
C. Insurance Benefits
D. Parking Policy
E. Stipends and Payroll
F. Other Services Available

VL Glossary of Terms
RESIDENT POLICY BOOK

INTRODUCTION

This book has been prepared as a guide and reference for all residents. * The purpose of written policies
is to establish guidelines regarding the Loyola University Medical Center and the responsibilities expected
from a resident. This policy book, however, is not a contract of employment or a guarantee of future
training for any particular time period. Formal contracts of any kind are recognized only when they are in
writing and signed by a designated LUMC official.

Please read the contents of this handbook carefully. This is ane of the many channels of communication
we maintain to create a productive learning environment. All residents should use this book as a
reference to answer questions regarding all of our policies. It is hoped that the use of these policies will
assist in working in a fair and equitable manner.

This policy book will be used as an ongoing document that will be amended and updated as needed.
Residents are expected to become familiar with and comply with all policies set forth in this policy book.

*In keeping with the American Medical Association's Graduate Medical Education Directory and the
ACGME, the word resident is used to designate ail graduate medical education trainees in the Loyola
University Medical Center Graduate Medical Education programs.

 
 

HOUSESTAFF HANDBOOK
Policies and Procedures

 

 

 

IV. B. LEAVE POLICIES

B. 1. Sick Leave

Paid sick leave is provided to offset loss of earnings because of illness. Sick leave may not be used for
vacation time or personal leave. Sick leave is granted to housestaff members who are absent from work
and unable to perform their assigned duties due to their own personal illness. Each housestaff member is
allowed twelve (12) days of paid sick leave per year. Absences due to sickness or injury should be
reported to the program director and chief resident. Any sick time not used during a given year cannot be
carried over to the following year. Sick leave does not accrue during a leave of absence.

B. 2. Family Medical Leave Act

It is the policy of the Loyola University Medicai Center to grant employees family leave in accordance with
the Family and Medical Leave Act (“FMLA”) of 1993. The intent is to provide employees up to twelve (712)
weeks of job protected leave during any twelve- (12) month period. To be eligible for leave, a house
officer must have been employed by the Loyola University Medical Center for at feast twelve months. A
house officer may request FMLA leave to care for a spouse, child, or parent who has a serious health
condition; the birth, adoption, or foster care placement of a child; or for his/her own serious health
condition.

Typically, a FMLA leave is unpaid; however, residents may elect to use any available paid time off
(vacation, sick, or educational days) concurrently with the FMLA leave. In the event a housestaff officer
elects to use available paid time off, once the available paid time off has been exhausted, the FMLA leave
will be unpaid.

A request for FMLA leave must be made in writing between the house officer prior to the beginning of
leave. The housestaff officer should provide the program director, the Department of Human Resources,
and the Graduate Medical Education Office with a copy of the request. Where applicable, the housestaff
office must also complete appropriate forms with the Department of Human Resources to continue
medical, dental, life insurance and long-term disability coverage during the FMLA leave. The resident will
be billed for the amount of any payroll deductions to continue insurance coverage. Vacation time will not
be earned during the unpaid portion of the leave of absence. If the FMLA leave exceeds the allowable
absence by specific board requirements or causes the housestaff officer to miss a key rotation, the
housestaff officer must extend his/her training to complete the requirements and/or rotation.

B. 3. Maternity/Paternity Leave of Absence

It is the policy of Loyola University Medical Center to grand housestaff officers maternity/paternity leave for
the birth, adoption, or foster care placement of a child. In granting maternity/paternity leaves, Loyola
University Medical Center will follow the requirements of the Family Medical Leave Act of 1993. Please
refer to section IV.B.2. Family Medical Leave Act listed above.

B. 4. Personal Leave of Absence

Housestaff may request a personal leave of absence from the program director in cooperation with
‘Human Resources Department. A leave agreement must be formalized in writing between the house
officer and the program director prior to the beginning of the leave. A house officer is not éligible for a
leave of absence unless he or she has completed one contract year of training.

To begin the process, the house officer must submit a written request to the department chair at least 30
days prior to the beginning of the leave (except in case of emergency). The Leave of Absence Form,
obtainable from Human Resources, must contain the reason(s) for the leave, beginning and return dates,
the house officer's signature, and the department director's approval and signature.

in most cases, a leave of absence should not exceed eight weeks. Benefits coverage is continued during |
leave under the conditions specified by the Loyola University personnel policy. A house officer must first ~
use available vacation time (and sick time, where applicable) to minimize the length of unpaid leave.

Once the vacation allowance is exhausted, subsequent leave will be unpaid, if eligible, under provisions of

 
f“ oN

{V.B LEAVE POLICIES, cont'd.

the Family Medical Leave Act. Under no circumstances should additional paid leave be granted to
compensate the house officer for vacation time used during a ieave of absence.

If a personal leave compromises a house officer's ability to satisfy specialty board training requirements,
the written leave agreement should specify how these requirements will be made up. A housestaff
member may be required to extend the training period for any dates of absence in excess of allowable
vacation time. During the extension, the housestaff member will receive regular salary and benefits
except for vacation allowance.

B. §. Funeral
Funeral leave is granted at the discretion of the program director. The amount of time off is based on the
housestaff member's relationship to the deceased, but typically will range from one to three days.

B. 6. Jury Duty

The University supports a housestaff member’s civic duty and.responsibility to serve on a jury. When a
housestaff member is selected for jury duty, he or she should notify the program director immediately.
dury duty does not affect continuous stipends or benefits.

B. 7. Educational Meetings

Educational Leave allows the resident five (5) days of leave for educational purposes relevant to the
training program. Housestaff members may attend education meetings according to the departmental
guidelines at the discretion of the program director and the department chair. The dates of such meetings
should not interfere with patient care. Excused absence for attending such meetings will not extend
beyond dates of the conference and necessary travel time. Additional days will be considered vacation
time and should be scheduled with the permission of the program director.

B. 8. Vacation

House officers are eligible for three weeks (15 working days) paid vacation each contract year. Vacation
approval and scheduling procedures are under the jurisdiction of the individual departments. All requests
for vacation time must be submitted to the department on the appropriate form, and fully approved in
accordance with the department's time limits and other procedures.

_ Vacation time is not cumulative from year-to-year. Terminal vacation, payment in advance or payment for
unused time will not be permitted. Vacations are not allowed on certain rotations/units. Residents should
check with the Department Chief Resident regarding restrictions. Residents are encouraged to select their
vacation periods early in the year on a first-come, first-service basis.

Unapproved time off beyond vacation dates will be considered an unexcused absence and may be cause
for disciplinary action and loss of pay.

B. 9. Unexcused Absence/fleave
Absence from regular duty hours and on-call assignment without prior departmental approval, notification

to Telecommunications and notification of all other individuals necessary to assure that clinical and
administrative duties are covered may result in disciplinary action or dismissal from the program.

GMEC Approved: April 7, 2000
Reviewed: April 7, 2000

 
®IS.44 (Rov. 3/99) “VIL COVER SHEET c™

The JS-44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required
by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the
use of the Clerk of Court for the purpose of initiating the civil docket sheet, (SEE INSTRUCTIONS ON THE REVERSE OF THE FORM.)

(a) PLAINTIFFS DEFENDANTS

OZ cel LOYOLA UMller Sy we ME Len fey.

OZ Kan, m A

{b) County of Residence of First Listed Plaintiff County of Residence of First Listed

  

 

(EXCEPT IN U.S. PLAINTIFF CASES) (IN U.S. PLAINTIFF CORES ON =
. NOTE: IN LAND CONDEMNATION CASES} USE T. CAEIDN OF THE
LAND INVOLVED. Qe Py
: — on mM =
(C} Attorney’s 04¢ and Te| "Ol pi 5 Attorneys (If Known} = rm oS * wT
E ES Seu

 

te kink Fu le eT) (oy

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

II. BASIS OF JURISDICTION (Place an “X” in One Box Only) Qui. CIT; NSHIP OF PRINCIPAL PAR S(Placgan “X""int One Box for Pioimiff
; SS (ForRpersity Cases Only) ‘and One Bok for Defendant)
. ww co PTF DEF PTF DEF
1 U.S. Government 3. Federal Question . 3S ten of This State O11} {1 Incorporated or Principal Place Ol 4 O14
Plaintiff (U.S, Government Not ge) cy of Business In This State
O 2 U.S. Government Ks Diversity & < ey Citizen of Another State h2 O12 Incorporated and Principal Place O 5 386015
Defendant (indicate Citizens RSF Parties ty BD of Business In Another State
in Item IIT) AU
‘ ee Citizen or Subjectofa O13 O13 Foreign Nation O6 6
AS Foreign Country
IV. NATURE OF SUIT __ (Place an “X” in One Box.)
CONTRACT TORTS wT FORFEITURE/PENALTY BANKRUPTCY OTHER STATUTES
O 116 Insurance PERSONAL INJURY PERSONAL INJURY | 610 Agriculture © 422 Appeal 28 USC 158 C) 400 State Reapportionment
O 120 Marine O 310 Airplane C) 362 Personal Injury-— 1 620 Other Food & Drug 0 416 Antitrust
O 130 Miller Act O 315 Airplane Product Med. Malpractice C! 625 Drug Related Seizure | 423 Withdrawal O) 430 Banks and Banking
O 140 Negotiable Instrument Liability O 365 Personal Injury — of Property 2] USC 28 USC 157 O 456 Commerce/ICC Rates/etc.
QO} 150 Recovery of Overpayment] 320 Assault, Libel & Product Liability O 630 Liquor Laws O 460 Deportation
& Enforcement of Judgment Slander O 368 Asbestos Personat O 640 RR. & Truck PROPERTY RIGHTS 1/12 470 Racketeer Influenced and
1 151 Medicare Act O 330 Federal Employers’ Injury Product C1 650 Airline Regs. CD 820 Copyriehts Cormupt Organizations
O 152 Recovery of Defaulted Liability Liability O 660 Occupational 330 Patent C1 810 Selective Service
Student Loans 0 340 Marine PERSONAL PROPERTY Safety/Health Cl 840 Trademark DC 850 Securities‘Commodities/
(Exel. Veterans) OQ 345 Marine Product () 370 Other Fraud O 690 Other rademar Exchange
1 153 Recovery of Overpayment Liability C) 371 Truth in Lending CG 875 Customer Challenge
of Veteran’s Benefits 1 350 Motor Vehicle O1 380 Other Personal LABOR SOCIAL SECURITY 12 USC 3410
D 160 Stockholders’ Suits O1 355 Motor Vehicle Property Damage . O1 891 Agricultural Acts
O) 190 Other Contract Product Liability DD 385 Property Damage O 710 a Labor Standards a se Black Lang 23) O1 892 Economic Stabilization Act
O 195 Contract Product Liability | 360 Other Personal Inj. Product Liability DO 720 Labor/Myen. Relations| 863 DIWC/DIWW (405¢2)) 5 83 Enviromental Matters
REAL PROPERTY CIVILRIGHTS _| PRISONER PETITIONS _ {C864 SSID Title XVI © 895 Freedom of
1 730 Labor/Mgmt.Reporting]O 865 RSI (405(g)) Information Act
© 210 Land Condemnation CO) 441 Voting O) $10 Motions to Vacate & Disclosure Act C 900 A, ° I rr “|
O 220 Foreclosure S| 442 Employment Sentence Ol 740 Railway Labor Act FEDERAL TAX SUITS {¢ Deen on mee Und
OC 230 Rent Lease & Ejectment | 443 Housing/ Habeas Corpus: wo etennination Under
Jee . we O 870 Taxes (U.S. Plaintiff Equal Access 10 Justice
1 240 Torts to Land Accommodations |() 530 General O 790 Other Labor Litigation Defend LO 950 Constitutionality of
Ol 245 Tort Product Liability |( 444 Welfare © 535 Death Penalty or Defendant} Stan Stee
C1 290 All Other Real Property |(] 446 Other Civil Rights o sag Mandamus & Other O 791 Empl, Ret. inc. C1 871 1RS—Third Party 2) 890 Other Statutory Acwons
ivil Rights Security Act 26 USC 7609
O1 555 Prison Condition
a oF
V. ORIGIN (PLACE AN “X" IN ONE BOX ONLY) Deri
Transferred from Judge from
O11 Original 2 Removed from 13 Remanded from O 4 Reinstated or 125 another district O6 Multidistrict OO 7 Magistrate
Proceeding State Court Appellate Court Reopened (specify) Litigation - Judgement

 

Do not cite jurisdictional statutes unless diversity.)

_ Femba
VI. REQUESTED IN ~™ LC cHECK IF THIS IS ACLASS ACTION
COMPLAINT: UNDER F.R.C.P, 23

(Cite the U.S. Civil Statute under which you are filing and write brief statem y
VI. CAUSE OF ACTION DOEMP TED

CHECK YES only if deplanded in confplaint:
JURY |IDEMAND: Oye ONo
Lo —-

JUL 2 9 2on4

DEMAND §

VIL. This case RK is not a refiling of a previously dismissed action.

O

 

is a refiling of case

 

» previously dismissed by Judge |
SIGNATURE OF ATTORNEY OF RECORD |

Jt argh (RS We Wh;
J 7 — 7

 

DATE

TD EA Whine

 

 
: ee

, | bo

Ur“TED STATES DISTRICT COV °T

NOKTHERN DISTRICT OF ILLINUIS
EASTERN DIVISION

In the Matter of

Ozgur I. Ozkan, M.D.
Plaintiff

vy
Loyola University Medical Center a/k/a, Loyola University
Health Center, Charles Bouchard, M.D- and Amjad Ahmad, M.D.

Defendants

 

mn J40 496

APPEARANCES ARE HEREBY FILED BY THE UNDERSIGNED AS ATTORNEY(S) ronUDGE SHADUR

Loyola University Medical Center

Charles Bouchard, M.D. and
Amjad Ahmad, M.D.

 

(A)

(B)

 

 

 

 

 

SIGNATURE By SIGNATURE NW - (:

NAME Brent J. Giver” name = Brian W. Bulger

FIRM Meckler Bulger & Tilson LLP ARM = Meckler Bulger & Tilson LLP
STREET ADDRESS STREET ADDRESS

123 N. Wacker Drive, Suite 1800

123 N. Wacker Dr., Ste.1800

 

CITY/STATE/ZIP

Chicago, IJIlinois 60606

crvstatezie Chicago, Illinois 60606

 

TELEPHONE NUMBER (312) 474-7900 raxnumBer (312) 474-7898

 

FAX NUMBER

TELEPHONE NUMBER (312) 474-7900 (312) 474-7898

 

 

E-MAIL ADDRESS: brent. graber@mbtlaw.com

emaiLAppress brian.bulger@mbtlaw.com

 

 

 

 

 

 

 

 

 

 

 

 

 

 

IDENTIFICATION NUMBER (SEEITEM4oNREVERsE §=06180725 IDENTIFICATION NUMBER (SEE ITEM 4ONREVERSE) (3335134
MEMBER OF TRIAL BAR? YES 0 NO MEMBER OF TRIAL BAR? Ym © OT
TRIAL ATTORNEY? YES NO TRIAL ATTORNEY? YR Me fj
5
DESIGNATED AS ¥ NO
LOCAL COUNSEL? E co le
5 SS
Wi =
na
~ _ ©) (D) S&S 5
=
SIGNATURE Vahl Rr-— SIGNATURE Pe >
Me ¢ a
iw) =e ew
NAME — Jennifer M. MéMahon NAME OF -« Ss
FR PR Aer crae y ao
. i oO 3
rrM = Meckler Bulger & Tilson LLP FIRM BiG ne H CAD oO 5 3
4 Part 4. & —
STREET ADDRESS ker Dr., Sui 800 STREET appress) U Lay cUUt a tn oS
123 N. Wacker Dr., Suite 1 a= a
CITY/STATEVZIP Chicago, Illinois 60606 CITY/STATE/ZIP
TELEPHONENUMBER (312) 474-7900 FAX NUMBER TELEPHONE NUMBER

 

(312) 474-7898

 

FAX NUMBER. /\

 

emaiLappress Jennifer. mcmahon@mbtlaw.com

E-MAIL ADDRESS

‘ft?

 

 

 

 

 

 

 

 

LOCAL COUNSEL?

IDENTIFICATION NUMBER (SEE ITEM 4 ON REVERSE) 06225612 IDENTIFICATION NUMBER (SEE ITEM 4 ON REVERSE)
L.
MEMBER OF TRIAL BAR? YES 0 NO ea) MEMBER OF TRIAL Y t “ NO “q
BAR? E
s
TRIAL ATTORNEY? YES fl NO 0 TRIAL ATTORNEY? Y NO O
E
s
DESIGNATED AS LOCAL COUNSEL? YES 0 NO bo DESIGNATED AS Y 0 \ NO O
E
Ss

 

 

 

 

 

 
